                        IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 10-0386
                              ((((((((((((((((

   In Re  Dallas County Hospital District D/B/A Parkland Health &amp; Hospital
                              System, Relators

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                      On Petition for Writ of Mandamus
            ((((((((((((((((((((((((((((((((((((((((((((((((((((

      ORDER

      1.    The agreed motion to abate,  filed  on  February  25,  2010,  is
granted, and this case is ABATED  to  allow  the  parties  to  proceed  with
settlement negotiations.
      2.    This case is removed from the Court's active docket until  March
9, 2011, by which time the parties must file either a  status  report  or  a
motion to dismiss.  The parties shall immediately notify  this  Court  about
any changes in status in the settlement proceedings.

      Done at the City of Austin, this 4th day of March, 2011.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




